Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 1 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 2 of 18
 Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 3 of 18




previous phase of the work. The as-built cross-section of the monolith is shown in
Figure 2.3. Figure 2.3 also shows that the 30 ft long panels result in interlock seams that
fall in the expansion joints which contain waterstops. It should be noted that these
details also apply to the South Breach area.


      As-built cross-section showing the improvement to the earthen portion of the
levee to Sta. 56+20 is depicted in Figure 2.4. As can be seen in Figure 2.4, the slopes
of the existing levee were decreased to (vertical) 1 to 3 (horizontal) on both the flood
and protected sides. On the protected side, the constructed slope was flattened further
to 20 to 1 from Elevation 0 ft to Elevation -1 ft (NGVD29) for 20 ft east and then at “1 on
3” to existing grade. Based on Figure 2.2, “1 on 3” appears to be the same as 3 to 1.
Also as shown on Figure 2.4, the floodwall centerline was constructed 3 ft east of the
levee centerline. The intent of the offset from the levee centerline appears to be to
provide added landslide passive resistance.


       Also shown in design and as-built drawings (see Figures 2.1, 2.2 and 2.4) is the
Jourdan Ave. Canal which is on the west side of Jourdan Ave. and runs approximately
parallel to the floodwall from about Station 16+00 to 57+00. Based on the as-built
drawing the drainage canal is about 90 ft to 100 ft (centerline to centerline) east of the
floodwall. The crest to crest width of the canal is shown to increase from about 10 to 17
ft south to north from Station 16+00 to 56+00. Measurements of elevation within the
canal range from about Elevation -10 ft to -15 ft with no distinct pattern.


       Based on Plate 58, dated April 1980 in Design Memorandum No. 4, there is
proposed construction of the floodwall from Station 55+97.4 and north, including across
Florida Ave. and beyond; see Figure 2.5 (Lake Pontchartrain Barrier Plan and Chalmete
Area Plan, Design Memorandum No. 4- General Design, Florida Avenue Complex,
IHNC, April 1980). In other words, the plan was to remove the existing I-Wall to Station
55+97.4 to an existing joint and install the new flood protection system. Figure 2.6
shows the corner of the floodwall at Station 56+20.5 (or Station 0+00 for the 1980
design). This results in a 30 ft monolith to the south and a 23.1 ft long solid concrete



                                            2-13
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 4 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 5 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 6 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 7 of 18
 Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 8 of 18




floodwall to the corner of the wall to the north. Also shown in Figure 2.6 is that the new
wall was designed to an elevation of 13.5 ft (in other words, 1 ft higher than the older
wall to the south) and that the proposed wall would have PZ-27 sheetpile installed from
an elevation of 9.0 ft to -25.0 ft (NGVD29). This embedment depth is 12 ft deeper than
the older and adjacent sheetpile to the south.        Also, along this newer proposed
segment, the crown elevation of the earthen levee increases to the north from an
elevation of 9.0 to 10.0 ft to Station 56+20.5.


       A cross-section of newer design wall segment is shown in Figure 2.7. As can be
seen in this figure, the proposed monolith is one pour with a height of 10 ft. The
sheetpile is shown embedded into the bottom 3 ft of the concrete. This plate, however,
does not show any reinforcement details.


       No as-built drawings or information were available after 1969.


       Using the above data, cross-sections have been reconstructed at Station 54+00,
55+00 and 56+00 in Figure 2.8. These cross-sections along the North Breach area
depict the I-wall being placed west to about on the centerline of the pre-existing earth
levee from north to south. The pre-existing levee crown was about at Elevation 8 ft.
Also, along this reach, the additional levee fill placed reaches about 5 ft at Station
55+00 (see Figure 2.8).


2.3 South Breach Design and As-built Plan and Profile Conditions


       Figures 2.9 and 2.10 depict the design plan and profile in the area of this failure.
The design again shows that the sheetpiling was to be installed from 10.0 ft to -8.0 ft
elevation with the “I-TYPE Wall” from Elevation 7.0 to 15.0 ft. Also, the design levee
crown elevation was the same (as at the North Breach) at 9.0 ft, requiring about 1 to
less than 2 ft of fill to reach this grade.




                                              2-18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 9 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 10 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 11 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 12 of 18
 Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 13 of 18




       The as-built plan and profile in the vicinity of the South Breach are shown in
Figures 2.11 and 2.12. As in the North Breach area, Z-27 sheetpiling has been installed
up to Elevation +11.5 ft to -8.0 ft ", or 1.5 ft higher than depicted in the design drawings.
Using Figures 2.11 to 2.13 and design cross-section in Figure 2.4, east-west cross-
sections were reconstructed in Figure 2.14 from Station 22+00 to 31+00. These cross-
sections depicted in Figure 2.14 show the I-wall being installed east of the centerline of
the pre-existing levee (as much as 10 ft) from Station 31+00 to Station 26+00 and then
on approximately the centerline of the pre-existing levee to at least Station 22+00. Along
this reach (and along the North Breach), the pre-existing crown of the levee is at
Elevation 8 ft, except at Stations 23+00 and 22+00 where the pre-existing embankment
appears to be absent and the maximum ground surface elevation is at 5 ft. Also, as can
be seen in Figure 2.14, the additional levee fill placed reaches at least 5 ft on the
protected side at Stations 31+00 to 28+00, 25+00 and 23+67.


       The Jourdan Ave. Canal is discussed under the North Breach section.

2.4 As-Built Floodwall Conditions


       Figure 2.3 shows that the concrete floodwall monolith was poured in 2 segments.
The first pour was to Elevation 12.0 ft and then to top Elevation of 15.0 ft. The 2 ft x 5 ft
bottom pour contains essentially No. 4 rebar cage at a longitudinal spacing of 0.5 ft and
top and bottom longitudinal No. 4 rebar. Vertical No. 4 bar extend up from the bottom
pour into the 3 ft high triangular upper pour (see Figure 2.3). The upper pour also
contains 3 longitudinal No. 4 rebars. Longitudinal bars were not extended across the
monolith joints. As shown in Figure 2.3, monolith joints contain essentially a full-height
water stop. There is no data given in the available design and as-built drawings found
which state the required concrete strength.




                                            2-23
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 14 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 15 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 16 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 17 of 18
Case 2:05-cv-04182-SRD-JCW Document 20405-36 Filed 08/30/11 Page 18 of 18
